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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                   4                                                        Case No.
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                   v.                                       ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7
                                                        Defendant(s).
                                   8
                                   9
                                  10          I,                              , an active member in good standing of the bar of

                                  11                                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:                                    in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is                                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-

                                  16
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S ADDRESS OF RECORD

                                  18
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
                                  19

                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

                                  21
                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is:                      .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: August 9, 2023                                         /s/ Jordan Goldstein
                                                                                                     APPLICANT
                                   5
                                   6
                                   7
                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of                                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16
                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18
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                                       Updated 11/2021                                   2
